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                         EXHIBIT 7
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              IN THE UNITED STATES DISTRICT COURT FOR
                 THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

                                              )
 DONNA CURLING, et al.                        )
                                              )
 Plaintiff,                                   )
                                              ) CIVIL ACTION FILE NO.:
 vs.                                          ) 1:17-cv-2989-AT
                                              )
 BRAD RAFFENSPEGER, et al.                    )
                                              )
 Defendant.                                   )
                                              )
                                              )



         SUPPLEMENTAL DECLARATION OF JEANNE DUFORT

JEANNE DUFORT declares, under penalty of perjury, pursuant to 28 U.S.C.

§1746, that the following is true and correct:

   1. My name is Jeanne Dufort.

   2. This declaration supplements my declarations of June 17, 2019, September

       10, 2018, and December 16, 2019. I stand by all of the content of those

       declarations.

   3. I have personal knowledge of all facts stated in this declaration, and if called

       to testify, I could and would testify competently thereto.

   4. I am a registered voter in Morgan County, and routinely attend the Morgan

       County Board of Elections and Registration and stay current with the issues

       related to the new voting system being implemented statewide. I also
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   observed the BMD pilot election on December 3, 2019 in Valdosta and am

   familiar with many of the physical and logistical difficulties of installing the

   system.

5. I attended the January 7, 2020 public meeting of the Athens-Clarke County

   Board of Elections as a citizen observer. The transcripts of relevant sections

   of the public meeting are attached as Exhibit A. The transcripts are a true

   and correct record of the transcribed portions of the conversations that took

   place at the meeting. A complete video record was also made and is

   available.

6. Election officials participating in the meeting included Charlotte Sosebee

   Director of Elections and Voter Registration, Lisa McGlaun, election

   assistant, and country attorney John Hawkins. Board of Elections members

   present included Charles Knapper, Chairman, Mokah-Jasmine Johnson,

   member, Willa Fambrough, member, and by phone Patricia Till, member.

7. I have summarized herein and referenced the transcript to some of the topics

   discussed that I believe are relevant to the Coalition Plaintiffs’ Status

   Report.

8. The issue of the size of the BMD screens and the ability of others to see

   voters’ votes in the polling place was referenced by the board members

   multiple times. The board and Director Sosebee acknowledged the problem
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   of the BMD screen ballot secrecy and that there is no currently known

   solution. (1:27-30; 1: 42- 2:16; 8:40; 13:38 -16:37).

9. The description of the screen visibility of votes by others in the polling place

   is consistent with my own observations in Morgan County demonstrations

   and in the Valdosta December 3 live polling place. My impression is that

   the board was quite concerned about their responsibility and inability to

   provide a secret ballot, as they raised it several times during the meeting

   without a solution. Their discussion included the fact that county citizens

   had also raised the issue as one of concern.

10. The board discussed their concerns about whether they can be prepared in

   time and whether there is a back-up plan. Initially Director Sosebee said that

   there was no back up plan, and that any back up plan must come from the

   State. [3:27-43]

11. The discussion of ongoing need to assess the electrical system adequacy of

   the polling places took place because of the significantly increased electrical

   requirements for the BMD system. [ 3: 41-4:47] It was my impression that

   the staff did not have a full understanding of the serious question at hand of

   the adequacy of the electrical supply and the consequences of inadequate

   electrical supply in the polling places. The Dominion voting system requires

   a separate 15amp circuit for every 6 voting stations, or a separate 20amp
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   circuit for every 8 voting stations, per the attached brochure attached as

   Exhibit B. Some polling places may not be able to support the number of

   voting stations required by Georgia law (1 per 250 voters, or fraction

   thereof) without upgrading the electric service available. The inspections

   will continue by the State inspectors before recommendations are made.

12. A discussion ensued on the fact that the new voting machines will require a

   larger footprint and fewer machines may fit in the polling places, and the fact

   that the board does not have a plan to fully deploy the number of machines

   required by law. It was clear to me from listening to their discussion that they

   are only in the early stages of considering the implications of under-

   supplying the polls. [3: 48 – 6: 29]

13.On December 3, I was in Lowndes County observing the pilot run-off

   elections. After the polls closed, I went to the Election Office with Rhonda

   Martin and Marilyn Marks, and had a discussion with Deb Cox, Lowndes

   County Election Director about the new system and logistics challenges. She

   told us that in some cases she might have to reduce the number of machines

   that would normally be allocated, due to space constraints of existing polling

   places.

14. The fact that Athens-Clarke does not have an estimated delivery date for the

   new voting system equipment. [6: 31 – 7:1] was discussed with concern.
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15. A quick run-down of the problem issues was listed and mentioned the above

   items such as ballot secrecy, electrical issues and having no back up plan.

   [8:32 – 9: 8].

16. Director Sosebee changed her position and stated that she did indeed have a

   back up plan and that it was a paper ballot plan. [9:20 -33]

17. Sosebee also described her view of the ballot secrecy problem stating that

   instructions were needed from the State and adding anything to the units to

   protect privacy of the screens would require pre-clearance from the

   Department of Justice. [ 9:33- 41] I believe that Sosebee is confused and

   likely means that the Election Assistance Commission must certify

   attachments to the BMD screens. But her confusion and lack of

   understanding underscores the lack of preparedness for this ballot secrecy

   problem.

18. Board member Johnson again raised the need for a back-up plan and the

   concerns about machine readiness. Director Sosebee then changed her

   position saying that she had not wanted to say that there is a back-up plan,

   and began to describe the traditional time-consuming emergency ballot plan

   similar to provisional balloting and used if machines are inoperable.

   [p.10:37-11:3; 12:10- 12:36; 12:45 -13:17]
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                         EXHIBIT A
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     Excerpts of Athens-Clarke County Board of Elections Meeting Jan. 7, 2020

 1   [previous portion of session available upon request.]
 2
 3   [00:13:13] Charlotte Sosebee: All right, then. Item number two are the goals for me
 4   and the staff for the first quarter, starting with our new equipment demonstrations.
 5   Lisa's going to, Lisa is one of our elections admin assistants. And she's going to fill in
 6   in some areas of these topics. First with us preparing for the presidential preference
 7   primary new equipment and qualifying for office. So Lisa's gonna give you, she has
 8   already been providing updates to you pretty regularly. I mean, probably at least
 9   twice a week. And in her response to you, she's asked for assistance. Assistance
10   can be you just showing up and being available. If the, any voter or citizen would like
11   to ask you questions about the board or it would be helpful if you're there to help
12   pack up the supplies. Not only that, it would be beneficial to you because you're
13   more exposed to the equipment. You're getting a hands, hands on with it. So Lisa's
14   gonna give an update on those locations and then we go into the program.
15
16   [00:14:41] Lisa McGlaun: OK. I made a copy for everybody. This is what I've been
17   sending you out an email. The newest one, you had already received that. We got
18   permission to go to the Winterville train depot for the Winterville townhall meeting in
19   January. So I'm looking forward to that one there. Thoreau??? was excited about us
20   coming. And at that particular meeting, I think we're going to do it a little bit differently
21   with Sarah Cornett, who's our state educator, voting educator will be there and she's
22   gonna give a short presentation instead of just kind of the walk up and find out about
23   the machine format that we've been doing before. OK, so as has been in the past
24   month, we still have the machines displayed in the office. Anybody can come in.
25   We've had a few voters each day. Not a lot, but a few voters each day coming in,
26   interested in learning about them. And some of them are here today, which I've had
27   the pleasure of meeting and talking to. The concerns that have been noted have
28   mainly been around the privacy of people's votes with the ballot marking device
29   screens are rather large, and that voters are concerned that people will be able to
30   see how they're marking their ballot. We've had two out of office demonstrations so
31   far. They were both at the George Square Mall in late December. These were well
32   received. Charlotte ran, one of them. I ran the other one. And our next demonstration
33   is going to be Thursday at the regional library on Baxter. And that's going to last from
34   9:00 in the morning until 12:00. And Sarah Cornett is also going to be at that one.
35   She's very helpful in answering people's broader questions about voting in the state.
36   And that is the update on those. And like Charlotte said. Please come out and
37   participate. It's not that I expect that you're going to know how to explain how to use
38   these machines right now to the voter. That's not really what I need. But I think that
39   the face of the board is very important for the public. So just come out and be there
40   with us and hang around and then that's the most important thing.
41
42   [00:16:48] Mokah-Jasmine Johnson: I do have a question that did this. There was
43   that public meeting in Atlanta where the boards could go to. So I know there was
44   changes made there. But after that meeting, there was people that reached out and
45   that was something that came up as far as what are we going to do about the
46   screens? Someone told me they were able to step like multiple steps back and they
47   still could see not necessarily the names, but they could see the color highlighted. So
48   you still indicate. So have you guys thought of a way of making sure that their
49   privacy is protected? How are we going to maneuver that.
50




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 1   [00:17:33] Charlotte Sosebee: OK. So I was at that public meeting. And so we've all
 2   been talking about different ways that we can do that. Course this would have to be
 3   something that would probably have to be approved by the state and passed in the
 4   State Election Board, by the State Election Board. I do know that the COO, I can’t
 5   think of his name right now, but he's, my understanding is he's working on
 6   something. Now I do know that there is this screen that is now being used on
 7   cellphones, I can't see my mom's phone when I'm sitting beside her, that I think they
 8   are looking into, that will be placed on top of the BMDs, but I'm not sure how they're
 9   gonna go about doing that or if they're just gonna do something temporary where
10   there is gonna be a board that's going to be placed there that, that gives privacy to
11   the voters. And Lisa, I'm going to ask you to add to that if you know anything about
12   what I was going say. All right. But that, that is what, and we are all talking about,
13   this within the organization association, the Georgia Voters Association and elections
14   officials. So there were some concerns about that. And I did, from that meeting, see
15   that the State Election Board has concerns about it as well. So I'm hoping before
16   early voting starts that there is a solution.
17
18   [00:19:03] Mokah-Jasmine Johnson: So when, I was also wondering, are we going to
19   be prepared? But I guess I discussed that at your business, do you think we're going
20   to be ready in time, from your, from the tests that you, the demonstrations that you
21   have done? Do you think we're going to be ready in time with these machines with
22   the fact of making sure that every vote is protected and implementing those things,
23   do you think? What are you guys thinking right now?
24
25   [00:19:28] Charlotte Sosebee: We’re scared. We're nervous. But I think we're going
26   to be ready. I feel that we're going to be ready. If I was going, but right now, I don't
27   feel that. But, but I will say that we will be ready because, it's you know, when I look
28   at our demonstrations, not everybody had time to stop and see the demonstration.
29   So will our voters be ready? No, because right now they're either saying, I've already
30   seen it or I don't want to or I don’t have time for it. OK, do we, are we prepared for it?
31   Yes, we are prepared. But collectively, we've got to be ready. And we will be as a
32   staff???
33
34   Mokah-Jasmine Johnson: I’m gonna wait until new business to ask the rest of my
35   questions.
36
37   [00:20:21] Charlotte Sosebee: So the next thing is preparing for the March PPP,
38   which may fall into some of the questions you have. Poll worker training will begin
39   February 10 through the 21st and we are going to need poll workers. I'm glad we
40   have cameras here so that it is revealed that we need poll workers and we have a
41   number, we like, I mean.
42
43   Lisa McGlaun: Do you want me to talk about that? So this would go in part of the poll
44   worker recruitment, but if it's OK with you, we can just go and talk about that now,
45   We're going to need to hire an additional one hundred and twenty seven people from
46   what we used in November. That doesn't mean that they'll have to all be new hires.
47   We’ll have, November was a small election, so there was a good group of people
48   that we didn't use. So we're going to call on all of those, or they are being called on,
49   to see if they can work. And then we'll have to fill in with brand new people. So as far
50   as recruiting or hiring, the application is up on the website now. It's running




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 1   continuously. Aletha and I have interviewed the first batch of workers and we've sent
 2   them back to finish out their applications or finish out the hiring process. I'm
 3   expecting more applications on Monday and then we'll just keep doing this until we
 4   get everybody we need. And hopefully by word of mouth, and I've had some of the
 5   managers tell me that they know several people that they're going to contact and see
 6   if they will apply also. So that's why we're at with that, we’re kind of just in the
 7   beginning processes now, started with the first of the year, just since the first week of
 8   the year, processing applications and trying to get people hired.
 9
10   [00:22:07] Mokah-Jasmine Johnson: I want to clarify, are we preparing for March or
11   are we preparing for May? You think we're going to be ready for March with the new
12   machines and ??? new poll workers?
13
14   [00:22:17] Lisa McGlaun: We have to be. We have no choice.
15
16   Mokah-Jasmine Johnson: What is the backup plan? There has to be a backup plan.
17
18   [00:22:24] Charlotte Sosebee: As far as poll workers are concerned?
19
20   Mokah-Jasmine Johnson: I mean as far as being ready for the totality of it. Do we
21   have all of our machines? Do we have everything that we need? Because it's
22   actually this is January, February and March, and realistically speaking, even with
23   the screens that needs to be implemented and I know you said that we, you had the
24   paper ballots possibly if, or some other methods. What, do we have any backup
25   plans right now?
26
27   Charlotte Sosebee: We don't have paper ballots other than absentee ballots. No,
28   there is no backup plan. The state gives us a backup plan. We'll have a backup plan.
29
30   Charles Knapper: We have to go through the state. It will have to be done through
31   the state, not through, not through us. We cannot do that unilaterally.
32
33   Mokah-Jasmine Johnson: So we can’t have a backup plan. It has to come from the
34   state for us to have a backup plan.
35
36   [00:23:21] Charlotte Sosebee: State of Georgia has a uniform voting system. But we
37   should be fine.
38
39   Charles Knapper: We will be fine.
40
41   [00:23:38] Charlotte Sosebee: And then the next thing is another item, a challenge
42   that we will be facing. It's a challenge that we will be facing. Say it again, it is a
43   challenge that we will be facing. We have. Lisa and ???, who is one of my area
44   managers, one of our part time staff members, have been with our Secretary of
45   State's office representative in assessing our polling locations. So there's been a visit
46   to all 20 of our polling locations and our advance voting locations and possible
47   voting, advance voting locations for 2020. This assessment was to first determine if
48   we were ADA compliant and specifically to survey our power circuits at all of our
49   polling locations. And Lisa's gonna give a report.
50




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 1   Lisa McGlaun: So when I went out with the electrician that was contracted by the
 2   state, he, Charlotte said we went to every single location, he mapped out where the
 3   electrical panels are for each of the outlets in the rooms that we use. So that if
 4   something happened that we, that a machine tripped a breaker, we would know
 5   where to go to turn it back on and get it back up and running. He took photos of all
 6   the entrances, and photographed, and photographed and counted the handicapped
 7   parking places. And then, when his report is complete, we'll be getting an
 8   assessment back from the state and what their recommendations are for some of the
 9   sites, that maybe some things that they want us to do differently than we're doing.
10   There were some issues, do you want me to get into that? There were some issues
11   when we went out. The sites that are owned by the county, the county buildings, like
12   when we use this room and our office and the Miriam Moore Community Center and
13   places like that, there was no problem. An electrician from the county went out with
14   us and we were able to, every single time locate the breakers that we needed and
15   map everything out. The schools are a little bit of a different issue. Some of the
16   schools we had to turn in, right, we turned in the first report as being unable to find
17   the panels. And that was Cedar Shoals High School, Clarke Central High and Chase
18   Street Elementary. And there was one school that because of the complications that
19   we had at some of the schools that we weren't able to get to,we weren't able to go to
20   J J Harris. So I was contacted by the electrical contractor today saying that they
21   would like to go back to those places again. She didn't want to turn in the report that
22   way, and I didn't want her to turn it in that way either. So they're coming back on the
23   16th and I'm working with the schools to try to find who the maintenance person is
24   that's on the Clarke County School District staff that’s going to know where these
25   things are, because it's a hazard to them actually too, to not know if there was a fire
26   or if something happened with one of these locations that they could, they don't know
27   how to go and turn it off. So that's where we are with them. So I was really actually
28   kind of surprised about that. And I'm not really sure what the answer is except that,
29   Pam was tasked, our other elections assistant, was tasked with submitting a
30   countywide survey or a statewide county survey, asking some of the other counties
31   what their experiences are in using schools and the responses that she has gotten
32   so far were negative. They don't like to use schools for many reasons, not because
33   the one that we found that the head custodians don't know where their electrical
34   panels are, but that they don't like to use them because of security issues to the
35   children, because a lot of times schools are not out on the day when we vote. And so
36   a lot of unknown adults going in and out of the campus that the school can't really
37   control. It creates traffic problems and parking issues for the people coming to vote
38   and that’s a real issue for people that are trying to get in and out and vote easily. Not
39   to mention what it does to the flow of children traffic within the school. Like, one of
40   our locations at Gainesville Elementary is inside the cafeteria. And if it's a school
41   day, they're trying to eat at the same time we're trying to process voters through the
42   cafeteria. So that's not really conducive to easy voting. OK. And before I move on to
43   the other thing, Charlotte just mentioned the other day, that for elections beyond the
44   PPP on March 24th, that she would like us to begin to work with the GIS office to
45   survey other county buildings that could serve as polling locations to alleviate the
46   problems that we see in the schools and just hopefully completely remove ourselves
47   out of the schools. But that will not be possible before March, so we have to go what
48   we have. Some of our other locations, the ones that are owned by the county are,
49   our county buildings are kind of small. The Multimodal Center is a very small
50   location. And this new system is going to require that we put more voting booths,




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 1   voting apparatus, if I can think of the word, stations into the, into each location and
 2   it's already at capacity when she had four of the old machines in there. And I think
 3   our estimate now is that location should have 10 and I'm not sure how we're going to
 4   do that. So some of our locations are too small for what we're looking at for these
 5   systems. So we have to find a way to help with that, help with those layouts and find
 6   ways to creatively maximize what we can do in those spaces for March. As an
 7   example, on Friday, I'm going out with the poll manager that works at Oglethorpe,
 8   the fire station number four on Oglethorpe, because she expressed a concern about
 9   her location being really small. I'm just gonna walk through it with her and see if we
10   can figure out the best way to get as many ballot marking devices in there as
11   possible.
12
13   [00:29:55] Willa Fambrough: Let me ask you a question, when you say as many, if
14   there's an assignment to a location of 10, are you thinking about cutting back?
15
16   [00:30:05] Lisa McGlaun: Well, those are numbers that were projected by Charlotte
17   based on calculations that she does. And so she would like to see 10 in that location.
18   If we can't fit 10 in there, I'm not sure what we're going to do.
19
20   [00:30:17] Willa Fambrough: So if we can't fit 10 and we can only fit 5 in, for me,
21   that's a problem.
22
23   Lisa McGlaun: Well, it is an issue. That's why I believe after this election that
24
25   Willa Fambrough: A big problem, it's a big problem for this election. You know, if we
26   don’t, if we're not successful with this election, we are in big trouble. I mean, you
27   know, and I don't just mean 100 percent successful, but successful enough to be real
28   confident about May and November. So my thing would be that we should really be
29   looking for other locations that could accommodate. I know when I lived in
30   Winterville, for years and years, I don't know what happened to the relationship with
31   the churches. But I used to vote on the corner there, the church on the corner, over
32   by ??? on Exton Road. Then I voted at the church on, still on Lexington Road, ???
33   Road. I don't know whether they have a daycare or what’s going on but I would
34   suggest that we move back around and ask some of these people we've already had
35   a relationship with and I'm sure we left on good accord. You know if if if, you know,
36   some possibilities are available, cause when I get to thinking about cutting, even
37   cutting back, even cutting back the projection, that worries me that that's like, OK, we
38   got the, the voting process is more complicated than it's ever been. So that's gonna
39   slow us down. And if we cut back on the machines, I don't feel good about that.
40
41   [00:32:00] Lisa McGlaun: Well, one of the things that we were looking at for
42   Multimodal was, we've purchased voting booths that will cut down on the footprint of
43   the floor footprint of the space we need for the machines, basically. And it'll have 2, 2
44   voting stations, one on each side. So if we can put 5 of those in there, then we'll get
45   our 10. So that's just that's one of the creative things.
46
47   Mokah-Jasmine Johnson: Is it that? Can you repeat that? It's a new type of machine.
48   They have options with these machines?
49




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 1   [00:32:35] Lisa McGlaun: No. There are options for how to set them up. So like we
 2   can purchase voting booths which are, we've purchased 5 so far, for advanced, for
 3   the advanced voting location in the office. And we can use those because it kind of
 4   allows us to stack. So it's the ballot marking device and the printer below it. And it's
 5   one on each side. So it makes a small footprint.
 6
 7   [00:32:56] Mokah-Jasmine Johnson: Well, I guess I have to see it.
 8
 9   Lisa McGlaun: Yes, come down to the office and look at it.
10
11   Charlotte Sosebee: This will allow us in the office to have more machines.
12
13   Mokah-Jasmine Johnson: Yes, because you only had one the last time I saw.
14   Lisa McGlaun: Well, when you came in the office to see it, that’s the, that is the
15   booth. And then on the other side of the booth, you can set up the same thing. So
16   you can have two on that one. So, yeah. So we're, feel like that'll help to get as many
17   as possible in there.
18
19   [00:33:28] Charlotte Sosebee: And this is the stand, it’s not something that, this is
20   something we have to purchase. The state's not providing this for us. So a lot of
21   people may just put theirs on a table, where if we put ours on a table, that limits us
22   as far as quantity what we could have because we don't have the space. So here's
23   this new stand that’s being provided by a vendor that we've thought let's see how
24   this will work in our office. If it works well in our office, then definitely it needs to go to
25   Multimodal because they have a space issue as well, just like we have and, space
26   issue in here, because we use this as a run off, you know, for the crowd down at our
27   office. So we're going to use those stands at Multimodal. And if we can put 4
28   machines down there from the old system, that means we could put 8 down there
29   because you will have one on this side, one on that side. So we're hoping these
30   stands will be friendly for us.
31
32   [00:34:28] Mokah-Jasmine Johnson: When is the new all this new equipment going
33   to be delivered by? Do you have a date for when all of the machines were supposed
34   to be here by? Even the stands, everything.
35
36   [00:34:38] Charlotte Sosebee: Well, the stand will have to be purchased by us as far
37   as equipment is concerned. We're not. But we're supposed to be ready when it gets
38   here.
39
40   Mokah-Jasmine Johnson: But you all don’t have a date.
41
42   Charlotte Sosebee: I don't have a date. They've gotten all of the assessments
43   though from us as far as where they will be bringing them in, what kind of ramp we
44   have for them to bring it in on. Our warehouse, it looks really good. I haven't been
45   over there yet to see it, but Lisa's been working really hard in the warehouse to get it
46   ready so that when they come in to remove the old equipment, the new equipment
47   has a place. So, we’re ready.
48
49   [00:35:12] Mokah-Jasmine Johnson: So, they have to move out the old equipment
50   first and then bring in new equipment.




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 1
 2   Charlotte Sosebee: And it could be one day, the next day, the new is coming.
 3
 4   [00:35:31] Charles Knapper: Have you talked with Dexter Fisher??? who’s the
 5
 6   Willa Fambrough: He would be that person for maintenance. Building, building stuff. I
 7   don't know. I don't know his title, but I know he’s in charge.
 8
 9   Charles Knapper: He's in charge of facilities.
10
11   [00:35:51] Lisa McGlaun: What would I talk to him about, what were you thinking?
12
13   Willa Fambrough: He should know who is assigned to what building, for the schools.
14
15   [00:35:59] Lisa ???: That's a different name than the one they gave me to talk to
16   today. So I, definitely not. So he’s with CCSD? Okay.
17
18   [00:36:14] Charlotte Sosebee: OK. The next item, I will be proofing ballots as soon
19   as we get the proofs. Just to let you know that I sent one of the things that the
20   Secretary of State asked us for, right now is a list of all of the early voting sites and
21   addresses that we'll be using. So I've already sent that to them. And they are trying
22   to, I'm going to say, compose our ballots. So as soon as we get them, it'll be proofed
23   and I'll keep you posted on that process. L&A, for all of our voting equipment, that
24   date hasn't been set yet, but that is something that's going to be one of the goals for
25   this quarter is to L&A all of the equipment. So I'll keep you all posted on that as well.
26
27   Charles Knapper: You’re going to be training on that?
28
29   Charlotte Sosebee: Yes.
30
31   Voter: What is L&A?
32
33   Charlotte Sosebee: L&A is logics and analysis of equipment, so the testing of the
34   equipment. I shouldn't say that, but, yes. So the testing of the equipment will be done
35   shortly after the ballot proofing. So I'll keep you all informed on those items. Mailing
36   of absentee ballots as well. That's something that's going to be a big item on our
37   goal list for this quarter. As soon as that is available, I’ll let you know. But absentee
38   ballots are provided 49 to 45 days prior to the election. Forty nine days is for our
39   UOCAVA which are our uniformed officers and overseas voters, so they will receive
40   their ballots electronically 49 days prior and then absentee ballots will be available
41   45 days prior to the election and we will conduct early in advance voting. So in your
42   packet, I have a copy of the advance voting sites. So, it's the Board of Elections
43   office, Miriam Moore Community Center, Athens Regional Library, Athens-Clarke
44   County Cooperative Extension Office, and Athens-Clarke County City Hall. And
45   those are the weeks of early voting, three weeks done in our office. Pending your
46   approval, I would like for to just mention some dates and times that we have
47   considered as a staff. On a Wednesday, which is during the last week of advanced
48   voting, we would like to extend hours from 8:00 to 7:00 p.m., on that Wednesday at
49   our office and here at City Hall. And then by law, we would have to work on
50   Saturday. Early voting will be conducted on that Saturday prior, which is the 14th of




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 1   March from 9 to 4. And we would like to add that Sunday on March the 15th from 1
 2   to 5. But this is all pending your approval. So we will have advance voting in our
 3   office from 8 to 5, with exception to the extended hours and dates I just mentioned.
 4   Miriam Moore, Athens Regional Library, Athens Clark County Cooperative Extension
 5   Office will be the last week of advance voting, which starts on March the 16th from
 6   10:00 to 7:00 p.m. I wanted to do those kind of uniformly because the library will not
 7   allow us in there until 9 o'clock. That gives our workers at least an hour to prepare for
 8   the voters. So 10 to 7 and just making it uniformly and then 10 to 5 on Friday so that
 9   we can all end at 5:00 on Friday, which is the last day. And then for the City Hall to
10   have the same hours that we have here at the office from 8:00 to 5:00 Monday to
11   Friday and then for that extended day from 8:00 to 7:00 p.m. on that Wednesday. I
12   would like for you guys to just let us know you're OK with these, these hours so we
13   can go ahead and start making preparations, hiring our poll workers and getting our
14   locations staffed.
15
16   [00:40:50] Charles Knapper: What's your pleasure?
17
18   Mokah-Jasmine Johnson: I’m good with what do you do on Sundays and you
19   extending it two hours, you know. Motion to accept the new hours.
20
21   Willa Fambrough: I second.
22
23   Charles Knapper: Motion is seconded, we adopt.
24
25   [ Redacted conversation not relevant. Available upon request.]
26   [01:06:31] Thank you very much for adding the extra pieces to the minutes. I think it's
27   a great idea. I am concerned, though, continually that. And I'm glad you looked up
28   the information about what should be it in the minutes and that we are meeting the
29   minimum standards.
30
31   [01:06:52] So I just want to share what we'll be missing on the next minutes for the
32   public.
33   Vicky Krugman[01:07:02] Based on what I see in December 3rd and all previous
34   minutes and I've been able to find the directors update is a copy of the agenda.
35   Vicky Krugman [01:07:14] This is what people will miss.
36   Vicky Krugman [01:07:17] We need poll workers. You need that hundred and twenty
37   seven people. And we. And my question is, do we need more than we had 20 to 2 in
38   2016? Will we have that? We're working on something to protect screens from being
39   read by other people. The state board has concerns and they have to vote for
40   anything to happen here. No backup plan has been made or being ready here in
41   Clark County for March and that we have to wait for it to come from the state. These
42   precinct sites that are in the schools have been looked at, and we know that Cedar
43   Chase and Clark Central are not passing based on the electrical problems that have
44   not been able to be identified, that they don't know how to. They are connected to
45   those places where the machines are. Nobody will know that that we have concerns
46   about parking issues and about strange people going into schools during the
47   elections and that we will likely start looking at moving on schools. But that's not
48   possible for March. Some locations are too small for equipment. We'll have to cut
49   back machines. Maybe we'll be moving locations, possibly to churches. Example of
50   the multi-modal area, which is too small. So we're adding voting booths to help to




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 1   create space in that there is no date for delivery of our machines. We have not
 2   received them and they have still not removed our old machines. Proofing ballots is
 3   going to be done by most. The logic and analysis of machines is yet to be done.
 4   Absentee ballots will happen forty nine to forty five days before the elections.
 5   Advanced voting sites and where they are and what their hours are will not be listed
 6   in these minutes. The qualifying information will not be listed in these minutes.
 7
 8
 9   Vicky Krugman01:09:23] And the response to comments from the other people who
10   were in the previous I'm not I'm just back on in the previous December 3rd will be
11   were recorded in detail.
12
13   [01:09:40] But the things that are written, if you look on that minute set, the things
14   that are written out in detail, I from the people who are writing or reporting as
15   citizens, but not the things that are being reported and discussed by the board.
16
17   [01:09:59] Thank you very much.
18   [redacted section not relevant.]
19   [01:13:16] Charlotte Sosebee: I would like to go ahead and respond to some of these
20   items -- to say that we don't have a Plan B? I just didn't want to say that we have a
21   Plan B. There's always a Plan B for everything. But to say that the State, yes,
22   ma'am, yes, it is a Plan B. To say that the State has a Plan B? No, I don't know what
23   the State’s Plan B is. Paper ballots is our Plan B. It is always our Plan B. Before we
24   had a new system, paper ballots was our Plan B. So that's our Plan B for Election
25   Day. Plan B for when the, when the list is not available for the poll workers to look at
26   on the automatic, the electronic system? There is always a black book that we
27   provide for our our book, our poll workers, and we train them to go to that if there is a
28   name not listed on the voter's list, on the electronic list. We provide that list to them
29   and it's there. They look at it. If they don't find the name, they are instructed to call
30   our office and we do not turn away voters. If we can't find them, they're given a
31   provisional ballot. I'm very passionate about what I do. I just want that to be made
32   known. Privacy. We can't just put anything on these machines by law prior to us
33   having to have everything approved by the Justice Department. We could not do that
34   and we're still not going to do it. Everything that we do has to be precleared prior
35   prior to now was done by the Justice Department. And that's the way we operate.
36   Everything will have to be precleared some kind of way. So we're not gonna just put
37   anything on those units. We're gonna make sure we are doing things by the law. If
38   the law says that we can't add something to those machines, we're not adding
39   anything until we get clearance from the secretary of state's office or from you as a
40   board, we will add what needs to be added. If there are some minutes missing, we
41   will look into that, because from my understanding, there weren't any minutes, any
42   minutes missing from the ???, from our website ACC Gov. I don't recall any minutes
43   missing. So if there are any missing, we will make sure they are on there. The voting
44   machine at Winterville. I have been talking about this at every board meeting. I will
45   update you as I am updated. We don't know what happened to the machine or if
46   something happened to the machines. There is speculation that something
47   happened. We cannot tamper with those machines. Those machines are
48   quarantined in our warehouse and waiting to be assessed by the Secretary of State's
49   office. Well, that's what's going on with them. We cannot tamper. By law, we cannot
50   tamper with those machines. We can test them, provide them for voting, and we can




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 1   get the results from tabulation and that's it. So what happened? We don't know. Why
 2   did it happen? We don't know. We don't know. How will we know it will not happen
 3   again? Well, it's not going to happen again because we're not using those machines
 4   again. But I know that's not the answer you're looking for, but I'm being as
 5   transparent as I can be. We are not hiding anything.
 6
 7   Toni Reed: Is there an investigation going?
 8
 9   Charlotte Sosebee: Yes, ma'am. And those machines are being quarantined. In
10   other words, they have not been used since this, this since the point was made to
11   our office.
12
13   Toni Reed: That made national news.
14
15   [01:17:15] Charlotte Sosebee: Yes, ma'am, we understand that.
16
17   Toni Reed: And there’s still not an answer.
18
19   [non-relevant discussion redacted]
20
21   Charlotte Sosebee: I specifically, as Director of Elections, do not have an answer for
22   you, but I can tell you that I'm doing everything that I'm told to do, is to quarantine
23   those machines until they can be looked at.
24
25    [01:19:18] Jacqueline Elsner: I'm asking the Board, why aren’t you all you pushing
26   this? Why aren't you speaking to the attorney saying, we are the Board, we are
27   hired? This is urgent. Why has, why has this county?
28
29   Mokah-Jasmine Johnson: Excuse me in regards to what? In regards to the machine?
30   We have asked about those machines and for those machines to be pulled.
31   Charlotte already said those machines are pulled and put to the side. And so once I
32   knew those machines weren't going to be used anymore, my focus now was to get
33   us ready for 2020 elections in understanding the current machines. Because we
34   can't get an answer from the State, what happened? Can ya test these things, take
35   them back, do something with them? So I stopped asking and I start focusing on
36   2020 and the current machines that are coming in. Us focusing on number three that
37   ain’t gonna be there anymore? I can't focus on that machine anymore. I have to, I
38   have to make sure that we are ready because there are so much doubts already.
39   The word on the street, yes, they are doubting that we are going to be able to
40   execute and secure everybody's vote. So right now, my focus is moving forward and
41   making sure that every single person’s vote is counted. And what do we need to do.
42   Now as far as the backup plan? If there was a backup plan, I wish you had just said
43   that in the beginning when I when I asked about it, because that was the main thing.
44   I'm really concerned because I'm looking at February is coming right around the
45   corner. March is coming. What is our backup plan? I don't want to keep going back
46   and forth with, I want them to have confidence in us. And if these people know that
47   we have backup plans in place and we're doing everything that we need to do and
48   we're very transparent, that helps us. But when they hear I don't know when that’s,
49   that’s not gonna work for us. So we need to know what the backup plan is. We need




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 1   to let them know we have a backup plan and we're focused on making sure
 2   everybody votes count.
 3
 4   [01:21:17] Charlotte Sosebee: I was more concerned about what's the state's backup
 5   plan. I don't know what their backup plan is. But I know what our backup plan is.
 6
 7   [01:21:31] Charles Knapper: There's a lot of misinformation that's out there regarding
 8   this. Totally.
 9
10   Jacqueline Elsner: What I hear is that the state and the attorneys and nobody's
11   willing to just figure it out and say it and put it to rest. Put it to rest.
12
13   [01:21:49] Charles Knapper: It’s out of our hands.
14
15   [01:21:53] Charlotte Sosebee: It is not a lot going on with them trying to get the new
16   system out to, it is a lot going on. Yeah. In a perfect world, it wouldn't be. We'd be
17   doing, we’d be dealing with old and coming up with, I would say, a temporary plan,
18   and then doing the new plan. In a perfect world.
19
20   Greg Davis: Do a press release and explain it all out. Explain that the state is, is
21   allegedly conducting an investigation. We've got the machines quarantined. And, you
22   know, we're not happy with the situation and we're pushing the state. Make it public,
23   embarrass the state, because right now you're embarrassed. Embarrassed, really
24   embarrassed. You should be.
25
26   [01:22:39] Mokah-Jasmine Johnson: I would say I would definitely say a press
27   release is needed because this number three machine has come up way too many
28   times and you've repeated yourself a lot of times. So I would say if we have a press
29   statement, either put it on the website, put it out there so they know that ultimately,
30   that machine is out of our hands.
31
32   [non-relevant discussion redacted.]
33   [01:40:28] Right. And the next thing on our agenda. Me get back to.
34
35   [01:40:40] Charles Knapper: Select offices for 2020. We need a chairman, vise chair
36   and secretary based on our new adopted bylaws. Do I hear nominations for
37   chairman?
38
39   [01:41:08] Mokah-Jasmine Johnson: Can we postpone that ‘til next month, or we
40   cannot, because we have two people that are missing and I don't feel comfortable
41   with, only because two people are missing. I would prefer for us to wait.
42
43   Charles Knapper: Would you would you make that in a motion?
44
45   Mokah-Jasmine Johnson: Motion for us to postpone voting on the new board
46   positions until February, meaning
47
48   Charles Knapper: Do we have a second?
49
50   Willa Fambrough: Second.




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 1
 2   Charles Knapper: The motion is seconded that we postpone our election of officers
 3   until our February meeting, all those in favor, aye?
 4
 5   [01:41:39] Aye.
 6
 7   [01:41:41] Charles Knapper: It’s unanimous. OK. Election readiness.
 8
 9   Mokah-Jasmine Johnson: I, I, we talked a lot of about that, but I definitely, I want to
10   see a Plan B in writing. I know you. I know previously you had mentioned that you
11   were going to be prepared. I believe in you. Thank you, Lisa, for the demonstration.
12   All the stuff you are doing, all the changes that y'all are trying to make. I know that
13   it's heavy right now. It's hot right now. But if we can, if I could see that Plan B and the
14   board would agree with me that we have that there. And so the public know, this is A
15   and if this machines ain’t ready, this is B.
16
17   [01:42:29] Charlotte Sosebee: Well, let me explain a little bit more in detail what Plan
18   B is. It would be the same way we process absentee ballots, be the same way. So
19   thankfully, I came from a all paper county prior to us going electronically and they,
20   voters, would basically receive a paper ballot and go into a booth that we would have
21   set up our table, a secret area, not a secret area, a privacy area, and fill out the
22   ballot with a marker on the paper, seal it in a white envelope. The white envelope
23   would go into a yellow envelope, which will become the oath envelope. And certain
24   nights of the day or certain times of that night, we will open the yellow envelope as a
25   part of secrecy. And that's what a voter would fill out. To say that basically I am that
26   person. This is my signature. This is my date of birth. Date of birth may not be on
27   there anymore. But anyway, they would fill out the oath, the same thing an absentee
28   voter would fill out. And then what we do is we separate that ballot and we set it in
29   another stack, because now it's inside of a secrecy envelope, which is a white
30   envelope, it doesn't have a person's name on it at all. And then a certain time of the
31   day, we will slit all of those white antelopes and stack those ballots in stacks of
32   twenty five and we’ll process them through an, a tabulation machine, which will be
33   one of our scanners. So that is also the Plan B at the polling precincts. If the
34   machines fail in whatever kind of way the tabulating fails in any way, they would
35   have to use this as a Plan B. So that's basically what it would be like.
36
37   Charles Knapper: Questions?
38
39   [01:44:16] Mokah-Jasmine Johnson: Not right now. I’m gonna think, I need time to
40   think and process.
41
42   Charles Knapper: It’s basically the same thing that we've used over the years.
43
44   [01:44:26] Willa Fambrough: But my thing is that, you know, everybody know me,
45   Miss Fambrough. So what’s the Plan B? And I don't want to go out and say what
46   Plan B is if I don’t see it in writing. And I'm not gonna go out and tell what Plan B is
47   unless I see it in writing. That's just me. And I don't want I have to go out there and
48   be like, I don't know, because people will be like, well, why are you on the Board
49   then?
50




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 1   [01:44:55] Mokah-Jasmine Johnson: So we want to know. And if you could just put it
 2   in writing, I appreciate it. I am glad that you have some type of Plan B in place. And
 3   then if the machines don't arrive in time, well,
 4
 5   Charlotte Sosebee: We'll just go back to what the statute is. And, like I said, it is the
 6   paper ballots and I'll just send you what, I'll send you the code sections.
 7
 8   [01:45:18] Willa Fambrough: Yeah, send us a copy of that code. I can always if I'm
 9   talking to somebody, I can reference that because that's something that is written
10   down. That’s statute. You know, that's a rule.
11
12   [01:45:27] Charlotte Sosebee: And this again, it's what we've always used from, from
13   day one, since we’ve gone electronic.
14
15   [01:45:37] Charles Knapper: And if we could look at our bylaws and look at Article 6
16   section F. These are our new bylaws. Article 6 section F.
17
18   [01:46:39] Willa Fambrough: OK, so is there a problem?
19
20   [01:46:46] Mokah-Jasmine Johnson: Yes. More members shall seek recognition from
21   the chairperson prior to speaking. The chairperson shall recognize members in the
22   order in which recognition is sought. If two or more board members seek recognition
23   at the same time, the chairperson shall designate the order of members entitled to
24   speak. So that means no speaking at the same time.
25
26   [01:47:18] Willa Fambrough: Okay, so he'll get the Roberts rules of order. Right.
27
28   [01:47:27] Charles Knapper: Just want make sure.
29
30   Mokah-Jasmine Johnson: We're talking all at the same time. Yeah. You gonna put
31   the bylaws. Okay.
32
33   [01:47:36] Charles Knapper: We got em.
34   Mokah-Jasmine Johnson: I know. I use them.
35
36   [01:47:41] Willa Fambrough: I think we all have a lot more clarity when we get out
37   Roberts rules. I have a question and I don't know whether it is old or new or what,
38   but I'm puzzled and since we have the attorney here. So it's our right. And I'm, and I
39   don't want to ask a dumb question, but does our right to privacy, does our right to
40   privacy when we're voting, is that, does that come from the federal government from
41   the constitution?
42
43   John Hawkins: That’s a good question. It’s my understanding, that, getting too deep
44   in the weeds, is that that's evolved over the years. And I think there's some some
45   historical background on that. But the short answer is I don't know the precise
46   answer to that question right off hand in terms, of in terms of you're talking about the
47   secret ballot. Is that what you're referring to?
48
49   [01:48:43] Willa Fambrough: I just, I just, I just mean that not secret ballot. But I just
50   mean, the way we're set up now is that the person across the room can see who I'm




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 1   voting for. Did that privilege? What? What, what? What? By whom? In what way did
 2   that privilege come to us? Because if it was the federal government, then it makes a
 3   huge difference. Then if I could, if I can know that, then I can comment further on
 4   what I'm asking about. But until I know that, I can't make any more commentary
 5   because it wouldn't make, it wouldn't make any difference, because you, I have to
 6   know that in order to ask the other questions that I have.
 7
 8   [01:49:35] Mokah-Jasmine Johnson: I guess I heard you. I have to pull up the
 9   information. But it was, I thought, I think it’s a state law.
10
11   [01:49:50] Charles Knapper: Can you get that information for us?
12
13   [01:49:54] John Hawkins: I’d be happy to. I might need to just make sure I
14   understand the question. But I can definitely call on Miss Fambrough and make sure
15   I understand her question adequately and do some research.
16
17   [01:50:05] Charles Knapper: Is that OK Miss Fambrough?
18
19   Willa Fambrough: I saw a hand over there.
20
21   Mokah-Jasmine Johnson: Yeah, because I think you might know. But I can't find it. I
22   don't want to hold you all up is trying to find my email.
23
24   Willa Fambrough: I think, I think she might have some information.
25
26   [01:50:26] Jeanne Dufort: Permission to speak, sir? Okay. I have researched it. Our
27   right to a secret ballot in Georgia is in the actual Georgia Constitution. So it's
28   conferred to us by the Georgia Constitution. It's one of the strongest in all of the
29   states, but also the statute that created Boards of Elections -it's one of your specific
30   enunciated responsibilities to protect our secret ballot. Separately, there is also,
31   according to Judge Totenberg, at least a federal judge, a federal right to a secret
32   ballot. That's, that's a different question. I think that's what you're referring to as it's
33   evolved, because that is not enunciated specifically in the U.S. Constitution. But in
34   Georgia, it is literally and specifically and clear in our Constitution and in, in Board of
35   Elections, they call it superintendents in the Georgia law, is the word for you all.
36   You're, you're, you're the ones that are charged with ensuring the secret ballot. It's
37   very clear.
38
39   [01:51:25] Willa Fambrough: My next question would be to the attorney is, is the
40   governor above the constitution of Georgia?
41
42   John Hawkins: Well, the, the, the executive branch is set by the Constitution of State
43   of Georgia. So, I mean, that's
44
45   Willa Fambrough: So they should actually be following the, following the Constitution,
46   rather than circumventing it maybe? I'm not using the right word. My, my mind is at
47   odds with that because like I say, I'm a rules and regs person. If you can show me
48   the rule and you can show me to regulation, I can more or less hang with you, you
49   know, but I'm kind of getting a vibe off of that and I really actually would like to know,




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 1   you know, who was first. You know, like chicken egg? The governor or the
 2   Constitution?
 3
 4   Mokah-Jasmine Johnson: I think the Constitution.
 5
 6   Willa Fambrough: So who , who, who do we follow as a Board? Who do we follow?
 7   The constitution or the governor. If somebody can't answer that question for me, it
 8   will give me so much clarity.
 9
10   [01:52:30] Mokah-Jasmine Johnson: I thought we supposed to follow the
11   constitution.
12
13   John Hawkins: Ultimately. And maybe, I might be missing some context. So I
14   apologize, I’m coming in and out of this meeting. The constitution of the state of
15   Georgia is the constitution of the state of Georgia. I mean, that is the, the, the laws
16   from which other laws of the state emanate. I mean, you can't do something that no
17   officer or anybody else should be doing something that violates the constitution.
18
19   [01:53:03] Willa Fambrough: Let me bring it home a little further. So I've been sitting
20   here and the governor tells us that we can't do anything about securing the privacy of
21   our voters here in Athens, Georgia. But the Constitution says that we can. So my
22   question is, who do we follow, the governor or the Constitution?
23
24   [01:53:26] Charlotte Sosebee: OK, so when I said earlier that we can't put anything
25   on, that means we can't put any software on these units and this all in the code. We
26   can't put just anything on the system itself for security, but nothing stops us from
27   putting a cart around the machine, from putting a partition here so that my ballot is
28   private to me and not seen by others.That's what I meant by we can’t putting
29   anything on them. I don’t know if that’s what you're referring to or not.
30
31
32   [01:54:02] Willa Fambrough: Because it, it at this point, it makes a big difference to
33   me whether I'm in a room voting and somebody is looking at who I'm voting for as
34   averse to me, having in my county something that circumvents, circumvents that.
35   Cause when I get to the poll and I don't see anything, speaking outside of what my
36   duty is here but as just a regular citizen going to vote, when I go in, my first
37   inclination is that, oh, I don't really want to vote. And my next inclination is maybe I
38   need to get on the phone and call an attorney and see if I need to vote. So when I
39   vote, then I can sue Athens, Clark County. They do not give me the privacy that I'm
40   entitled to. I moved away and I'm a federal citizen now. I mean, someone needs to
41   answer that for me.
42
43   [01:55:05] Charlotte Sosebee: OK, can I just say this, when you look at a precinct
44   that we have? If I was going to say we have, we'd have a privacy issue at a precinct,
45   I would say our office would be a privacy issue because of the space that we have.
46   But we're going to do what we're supposed to do to make sure nobody can see that
47   ballot. But we can't just put, go in and take that screen and put something on that
48   screen or make the font a little smaller. We will be out. We will be doing something
49   we cannot do. That's not allowed. And what they did. They put provisions in the law
50   that. I can't just do anything I want to do to this system, to the system. And so we're




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 1   going to do everything we can here in Athens Clarke County. If it means us putting
 2   the machines way down there and putting the one way down here. We're going to do
 3   everything we can to make sure there is privacy for our voters within our power. But
 4   when it comes to making adjustments to the machine, putting something over the
 5   screen, up on the screen and having a film put over it or something. We cannot do
 6   that until we get, until it's in the, the state election code to say that this is what's
 7   going to be done. Everything about this machine is in the code section or in the law
 8   that says that the font has to be this color. The screen has to be this color. The
 9   everything from the ballot, paper ballot on. We cannot just do what we want to do to
10   get this done.
11
12   [01:56:44] Charles Knapper: So therefore, we need to talk with our elected officials in
13   order to, for them to talk to the Secretary of State.
14
15   [01:57:00] Charlotte Sosebee: I think it's going to be the State Election Board first
16   and then, and then, and it's us. We're also talking to the state election, the Secretary
17   of State's office. We’re talking to the directors, we're talking to them saying, hey,
18   there's some concerns here about privacy. We're not just not doing anything. We're
19   just waiting to see what the State's going to do before we start spending a whole lot
20   of money, because a lot of us don't have it. I don't have it. We don't have it here in
21   Athens-Clarke County. I have a request to go before the Board of Commission next
22   month to ask for more money. And that’s not to say that they're not gonna give it to
23   me, but I've got to ask for it. And some of those things are in there about privacy. I
24   will also say that there are some grants that are out there that we're going to be
25   provided. Each county will get a certain amount of money in grants that we can use
26   for security, but it still won't be that we can just go in there, put anything. Again, it
27   could be a curtain. It could be a partition. We can come up with ways that we can
28   provide that privacy to our voters and we're going to do that. But we've got to take it
29   from each individual location because every location will not have an issue.
30
31   [01:58:26] Willa Fambrough: And in terms of thinking that whatever the appendage
32   is, not on the machines, but in the vicinity. Could it not not not be attached to the
33   machines? You know, a wall, even if we have to put up you know, as long as it's not
34   attached to the voting device.
35
36   [01:58:51] Charlotte Sosebee: Right. And that's what they are allowing us to do. As
37   long as it is not attached.
38
39   Willa Fambrough: And the other question I have for the attorney. If things don't turn
40   out well, are we as Board members insured against suits. I don't want you to start on
41   that now. If you need to go back and look it up, I'll be comfortable with that.
42
43   [01:59:20] John Hawkins: You know, there's the first of all, I would say that the
44   county has, has insurance that it, it. But I don't know. I think it kind of depends on the
45   particularities of the question you're asking. But that's another thing. I could do some
46   research. I could get in touch with you and see kind of what precisely the question
47   you're asking.
48
49   Willa Fambrough: Thank you. Please.
50




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 1   Charles Knapper: We'd all like to know that.
 2
 3   [01:59:48] John Hawkins: Just so you know, sometimes I will say, hey, I got to go
 4   back and look at something. I don’t want to give you something that’s incorrect.
 5
 6   [02:00:01] Charles Knapper: Yes. Anything else? Is there anything else.
 7
 8   [02:00:06] Mokah-Jasmine Johnson: I have to think some more. But I will be asking
 9   more questions. I'm really concerned between January and March. I am. I'm good
10   right now. Yes, me too.
11
12   [02:00:20] Charles Knapper: Miss Till. Any other concerns?
13
14   [02:00:25] Patricia Till: No. I think that we have all heard enough questions and
15   answers that we just as most are saying, you know, we need to think on what we've
16   been given and see if we can come up with anything else that we think would help.
17
18   [02:00:43] Charles Knapper: OK, given that our, the next thing on the agenda is
19   announcements, our next scheduled meeting is February 4th, 2020 at 3:00 p.m. here
20   at City Hall. Given that, any other concerns, we have a motion to adjourn.
21
22   Mokah-Jasmine Johnson: I second that emotion.
23
24   [02:01:23] Charles Knapper: And we are adjourned. Thank you.
25




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                         EXHIBIT B
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             Cyberpower UPS System for the Ballot Marking Device


                             QUICK REFERENCE GUIDE
OVERVIEW
The Cyberpower UPS supplied with the Ballot Marking Devices (“BMD”) for Georgia can accommodate
up to 2 Hewlett Packard printers and 2 Touchscreen units. The 2 AC power receptacles on the upper
portion of the back of the unit are labeled “Printer” and are to be used only for the HP Printers. These
receptacles will provide battery-supplied power to the printers in the event of a power outage.

The 2 receptacles at the bottom of the back of the unit are labeled “ICX” and these are to be used only
for the Touchscreen component of the BMD. These do not supply battery backup power, as the
Touchscreen has an internal battery to do so in the event of a power outage. These receptacles are
always live when the UPS is plugged into a wall receptacle.




When deployed, a single 15-amp receptacle with no other appliance running on the line can
accommodate 3 of the UPS systems. If the receptacle is a 20-amp circuit with no other appliances
running, then 4 UPS units can be run on that circuit.
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Start-up
Plug the UPS power cord into a functioning AC receptacle on a 15- or 20-amp circuit. The unit will power
up and the LED will illuminate. The left side will show the battery charge. It should display “100%” in
the top block. The “UPS Status” block will display Operation Mode Standby, as noted in the photo
below. The display will show the “Input” AC Voltage from the wall receptacle, approximately 123Vac.
The” Output” will display 000Vac. This indicates the unit is in standby mode, the battery is charging but
no power is being provided to the Printer outlets on the back of the unit.




To set the unit for normal operation, press and hold the POWER BUTTON for five seconds. The unit will
beep once. After approximately 10 seconds, the unit will briefly display Operation Mode Inverter. You
should note that the “Output” voltage will now read 110Vac instead of 000Vac. The UPS is now in the
operational mode with AC power provided to the Printer outlets, and battery backup is in effect if
needed.
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Shutdown
To shut down the unit for storage or period of non-use, unplug the AC power cord from the wall
receptacle. The UPS will switch to Battery Mode and the “UPS Battery Icon" will be illuminated. Now
press and hold the OFF button for more than ten seconds. The UPS will beep one time, the LED will go
blank and the unit will power down.
